          Case 1:22-cr-00336-SAG Document 48 Filed 04/04/23 Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                      *

v.                                            *        Crim. No. SAG-22-0336
JAMIE HENRY
                                              *


     DEFENDANT JAMIE HENRY’S MOTION TO SEVER TRIAL AND REQUEST FOR
                               HEARING


        Defendant Jamie Henry by and through undersigned counsel, David Walsh-Little,

respectfully moves pursuant to Rules 8 and 14 of the Federal Rules of Criminal Procedure and the

Fifth and Sixth Amendments to the United States Constitution to proceed to trial separately from

co-defendant Anna Gabrielian, and in support thereof, the defendant states as follows:

                                      PROCEDURAL HISTORY

        On or about September 28, 2022, Jamie Henry was charged by indictment with one count

of Conspiracy to Defraud the United States in violation of 18 U.S.C. § 371 and with four counts

of Unlawfully Disclosing Individually Identifiable Health Information in violation of 42 U.S.C. §

1320d-6. ECF No. 1. Dr. Henry made an initial appearance on September 29, 2022 and was

released on certain conditions including electronic home monitoring. ECF No. 12. Trial is

presently scheduled to begin on May 22, 2023.

                                      LEGAL STANDARD

        Rule 14 of the Federal Rules of Criminal Procedure affords district courts the discretion

to order severance when appropriate. Rule 14(a) states, “If the joinder of offenses or defendants

in an indictment, an information, or a consolidation for trial appears to prejudice a defendant or
          Case 1:22-cr-00336-SAG Document 48 Filed 04/04/23 Page 2 of 5



the government, the court may order separate trials of counts, sever the defendants’ trials, or

provide any other relief that justice requires.” There is a presumption that co-defendants,

including those defendants charged with conspiracy, are to be tried together. See Zafro v. United

States, 506 U.S. 534, 537-38 (1993). Severance though is required when “there is a serious risk

that a joint trial would prevent the jury from making a reliable judgement about guilt or

innocence. Zafro, 506 U.S. at 539. The party moving for severance must show actual prejudice

will result from a joint trial. United States. Reavis, 48 F.3d 763, 767 (4th Cir. 1995) citing United

States v. Brooks, 957 F.2d 1138, 1145 (4th Cir. 1992) cert denied 505 U.S. 1228 (1992).

       The Supreme Court in Schaffer v. United States, 362 U.S. 511 (1960) stated, “We do

emphasize, however that … the trial judge has a continuing duty at all stages of the trial to grant

severance if prejudice does appear.” Id., at 516. Such analysis is fact specific to each case.

“Whether under all the circumstances of the particular case, as a practical matter, it is within the

capacity of the jurors to follow the court’s admonitory instructions and accordingly to collate and

appraise the independent evidence against each defendant solely upon that defendant’s own acts,

statements and conduct.” Peterson v. United States, 344 F.2d 419, 422 (5th Cir. 1965).

                                           ARGUMENT

       Dr. Henry is charged in Count One of the Indictment with conspiring with Anna

Gabrielian, their wife, to defraud the United States, by assisting the government of Russia to

“gain insights into the medical conditions of individuals associated with the U.S. government

and military to exploit this information.” ECF No. 1, p.4. According to the Government, this is

all being done by Dr. Henry to assist the government of Russia in its ongoing war against the

Ukraine. Id., p.2. Dr. Henry disputes this allegation and the other counts in the indictment.




                                                  2
          Case 1:22-cr-00336-SAG Document 48 Filed 04/04/23 Page 3 of 5



       Russia is of course the successor to the Soviet Union, America’s arch enemy throughout

the Cold War. The indictment, inflames this anti-Russian perspective by unnecessarily quoting

President Biden’s characterization of the ongoing conflict. Id. Jurors will be tasked with

assessing Dr. Henry’s individual conduct when reaching a verdict on Count One and there is a

real potential of bias against Dr. Henry and their wife because the allegations involve Russia.

This prejudice is compounded by the marital union of the defendants. Despite legal instructions

to the contrary, there is a very real prejudice that jurors will assess the defendants collectively as

a couple instead of individually as the law demands.

       The law protects communications between spouses unlike similar communications in

other relationships. Information disclosed between spouses is privileged. Blau v. United States,

340 U.S. 332, 333 (1951). Additionally, one spouse may not be compelled to testify against the

other. Trammel v. United States, 445 U.S. 40, 53 (1983). These legal principles are adopted by

the society at large. Jurors may very well, independent of any evidence, conclude that Dr. Henry

conspired with their wife, simply based on their relationship. This is particularly true given the

evidence in this case.

       According to the indictment, it is Dr. Gabrielian who initially reaches out to the Russian

embassy on her own. This then leads to five separate meetings between an undercover FBI agent

and Dr. Gabrielian. All these meetings were audio and video recorded. Dr. Henry is not present

for three of these meetings. When present Dr. Henry again and again explained that their

intention was not to help Russia, but to stop the harm done to all casualties of war. At a meeting

on August 17, 2022, at approximately ten minutes into the recording Dr. Henry states, “I have

experience taking care of people destroyed by combat. I worked at Walter Reed.” Fourteen

minutes into the recording, Dr. Henry explains their personal motivation for continuing the


                                                  3
          Case 1:22-cr-00336-SAG Document 48 Filed 04/04/23 Page 4 of 5



conversation, “ For me it is my hate of war.” Twenty eight minutes into the recording Dr. Henry

states, “ What I was telling the Ukrainian doctor is that I can provide medical care to either side.”

Approximately sixty one minutes into the recording, Dr. Henry says, “I went into medicine

because I am interested in humanitarian health care.” Approximately seventy seven minutes into

the recording, Dr. Henry states, “I want the world to be a better place for my kids.” Eighty three

minutes into the recording, Dr. Henry describes their views on the Russian/Ukrainian conflict,

“There is no good that comes from this.”

        These recorded statements directly impeach the notion that Dr. Henry’s intention is to

assist the government of Russia. There is however a strong possibility in this case, due to the

nature of the allegations and the relationship of the defendants, that Dr. Henry will be prejudiced

in a joint trial. Given the facts in this case, severance is appropriate.

        WHEREFORE, Jamie Henry requests that this Court sever their case from their co-

defendant on the grounds alleged herein and any other basis that may become apparent upon a

hearing on the motion.

                                                Respectfully submitted

                                                               /s/
                                                DAVID WALSH-LITTLE, #23586
                                                The Law Office of David Walsh-Little, LLC
                                                1014 West 36th Street
                                                Baltimore, Md 21211
                                                Tel: 1.410.205.9337
                                                Fax: 1.667.401.2414
                                                Email: david@walshlittlelaw.com




                                                   4
          Case 1:22-cr-00336-SAG Document 48 Filed 04/04/23 Page 5 of 5



                            CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a copy of the foregoing Motion was sent to all parties via

CM/ECF.

                                                 /s/
                                        DAVID WALSH-LITTLE, #23586




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